     Case 2:18-cv-01023-DMG-SP Document 39 Filed 09/09/19 Page 1 of 2 Page ID #:366




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8                        UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10
                            WESTERN DIVISION
11                                ) NO. CV 18-1023-DMG (SPx)
      UNITED STATES OF AMERICA,
12                                )
               Plaintiff,         )
13                                )
                      vs.         ) ORDER LIFTING STAY FOR THE
14                                ) LIMITED PURPOSE OF ALLOWING
      APPROXIMATELY 279,808       ) PLAINTIFF TO FILE MOTION TO
15    ALUMINUM STRUCTURES IN THE )) STRIKE CLAIM OF PERFECTUS
      SHAPE OF PALLETS,             ALUMINUM, INC. [38]
16                                )
               Defendants.        )
17                                )
                                  )
18    PERFECTUS ALUMINUM, INC.,   )
                                  )
19                                )
               Claimant.          )
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     Case 2:18-cv-01023-DMG-SP Document 39 Filed 09/09/19 Page 2 of 2 Page ID #:367




1           Plaintiff United States has applied ex parte (with notice) for an order lifting
2     stay of this action for the limited purpose of allowing the government to file a
3     motion to strike the claim of Perfectus Aluminum, Inc.
4           Good cause appearing therefor, plaintiff’s application is GRANTED. IT IS
5     HEREBY ORDERED that the stay of this action is lifted for the limited purpose of
6     allowing the government to file a motion to strike the claim of Perfectus
7     Aluminum, Inc.
8           IT IS SO ORDERED.
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10    DATED: September 9, 2019
11                                           DOLLY M. GEE
                                             UNITED STATES DISTRICT JUDGE
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